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28
                              Exhibit A
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11 Attorneys for Plaintiff and the Proposed Class

12                              UNITED STATES DISTRICT COURT

13         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

14 WILLIAM RUSHING, Individually and on             Case No. 3:16-cv-01421-WHO
   Behalf of all Others Similarly Situated,
15                                                  Assigned to the Hon. William H. Orrick
16                Plaintiff,

17         v.

18 WILLIAMS-SONOMA, INC., a Delaware                SECOND AMENDED
   corporation, also d/b/a Williams-Sonoma and      CLASS ACTION COMPLAINT
19 Williams-Sonoma        Home;      WILLIAMS-
20 SONOMA        DTC,      INC.,   a   California
   corporation;           WILLIAMS-SONOMA           CLASS ACTION
21 ADVERTISING,          INC.,    a    California
   corporation; WILLIAMS-SONOMA STORES,             DEMAND FOR JURY TRIAL
22 INC., a California corporation; POTTERY
   BARN, INC., a California corporation;
23 POTTERY BARN KIDS, INC., a California

24 corporation, also d/b/a Pottery Barn Baby;
   POTTERY BARN TEEN, INC., a California
25 corporation also d/b/a PB Teen and PB Dorm;
   WEST ELM, INC., a California corporation;
26 and DOES 1-30,
27
                  Defendants.
28
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           Plaintiff William Rushing, on behalf of himself and all others similarly situated, brings this

    Complaint against Defendants Williams-Sonoma, Inc., also doing business as Williams-Sonoma

    and Williams-Sonoma Home; Pottery Barn, Inc.; Pottery Barn Kids, Inc., also doing business as

    Pottery Barn Baby; Pottery Barn Teen, Inc., also doing business as PB Teen and PB Dorm; West

    Elm, Inc.; Williams-Sonoma DTC, Inc.; Williams-Sonoma Advertising, Inc.; Williams-Sonoma

    Stores, Inc.; and Does 1-30 (collectively, “Defendants”), and based on personal knowledge with

    respect to himself and on information and belief derived from, among other things, investigation

    of counsel and review of public documents as to all other matters alleges as follows:


                                        NATURE OF THE CASE

           1.      This case is about truth in advertising. The manufacturer, merchant, and marketer

    in this case are all the same—Williams-Sonoma, Inc. Williams-Sonoma, Inc. (“WSI”) is one of

    the country’s largest retailers of home goods through a variety of store brands, including Williams-

    Sonoma, Williams-Sonoma Home, Pottery Barn, Pottery Barn Kids, Pottery Barn Baby, Pottery

    Barn Teen, PB Teen, PB Dorm, West Elm, and others. WSI has established a reputation as a

    purveyor of quality home products. Nobody would expect that WSI would advertise a set of 600

    thread count cotton sheets that do not, in fact, contain 600 threads per square inch as indicated on

    the label. But that is exactly what WSI is doing. WSI is relying upon its store brands’ established
    reputations as high end retailers to pass off inferior products to consumers. They market to affluent

    and aspiring consumers who are willing to pay a premium price for a premium product. But what

    WSI advertises is not necessarily what it delivers, particularly when it comes to its bedding

    products.

           2.      Twenty years ago, most consumers did not judge their bedding selection by the

    same criteria as they do today. Over the last two decades, manufacturers, merchants, and marketers




                                                     -1-                      Case No. 3:16-cv-01421-WHO
1                                            Second Amended Class Action Complaint and Demand for Jury Trial
2
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 1 have stepped in to educate consumers about factors that lead to better quality sheets. Included as

 2 one of these factors is the fabric’s thread count, with the message being “the higher, the better.”

 3 Bedding and other linens with higher thread counts are more durable, and will feel denser and

 4 smoother than those with lower thread counts.

 5          3.     Unfortunately, to gain a competitive edge, some manufacturers, merchants, and

 6 marketers have strayed from the industry standard for calculating thread count and have

 7 intentionally misled consumers into believing they are purchasing higher thread count bedding—

 8 and attach higher price tags matching that false quality.

 9          4.     Within the textile industry, an advertised thread count must fall within 5% of the

10 fabric’s actual thread count to be considered accurate, and whether bedding is constructed from 1-

11 ply or 2-ply thread does not alter the calculation because a thread’s plies are not included in

12 calculating the thread count.

13          5.     However, despite industry practice, international standards, and instruction from

14 the Federal Trade Commission (FTC) as to the proper method for calculating and presenting thread

15 counts, some merchants—including Defendants—grossly inflate their sheets’ thread count

16 numbers.

17          6.     Investigation has revealed that WSI is engaged in a pattern and practice of not

18 following the textile industry’s generally accepted method for calculating thread count and instead
19 improperly inflates the advertised thread counts for its most expensive bedding products,

20 specifically its sheets and pillowcases labeled as having a thread count of 350 or more (hereafter

21 referred to as “higher thread count”).

22          7.     Many of the sheets and pillowcases (collectively, “bedding” or “sets”) WSI

23 advertises are an average thread count of 200 threads per inch and bear non-thread count

24 identifying names, such as “Leaf Embroidered Linen Bedding,” “Peyton Sheet Set,” “Dottie Sheet

25 Set,” “Organic Harmony Sheet Set” or “Polka Dot Sheet Set.” The allegations in this case are not

26 directed at that average thread count bedding. Nor is this case directed at WSI’s bedding that does
27 not disclose its thread count on its label or in Defendants’ marketing and advertising materials.

28
     Case 3:16-cv-01421-WHO Document 19-1 Filed 05/04/16 Page 5 of 50




 1          8.     However, each of WSI’s brands also sells some higher thread count bedding. For

 2 those bedding items, WSI strays from its practice of marketing its bedding with vague statements

 3 about luxury, comfort, or design to marketing with specific statements about its beddings’ thread

 4 counts. The stated thread count is not buried in the products’ descriptions, but stated in the first

 5 sentence of each of those product’s narrative descriptions. WSI has even named some of its

 6 bedding after their purported thread count numbers.

 7          9.     For example, the bedding Mr. Rushing purchased from WSI’s website was named

 8 “Signature 600-Thread-Count Sateen Bedding.” WSI then repeated the thread count again in the

 9 first line of the product’s description: “Sewn from lustrous 600-thread-count two ply Egyptian-

10 cotton sateen, our Italian bedding becomes even richer in texture with use and laundering.”1

11          10.    In contrast, Williams-Sonoma Home’s “Signature Linen Bedding” is described on

12 the same website as “Sewn from fine linen, this luxurious bedding has an ultrasmooth hand that

13 will only soften over time with use and laundering.” Nowhere on the webpage does WSI reveal

14 the Signature Linen Bedding’s thread count.2

15          11.    Unfortunately for Mr. Rushing and anyone else who purchased the “Signature 600-

16 Thread-Count Sateen Bedding,” it’s thread count was not 600, but merely 291. Nevertheless, WSI

17 charged, and Mr. Rushing paid, approximately $270 more for the purported higher thread count

18 than he would have paid for the “luxurious” and “ultrasmooth” Signature Linen Bedding of
19 unknown thread count.

20          12.    Defendants know that consumers value higher thread count linens and are willing

21 to pay a premium for linens marketed with higher thread counts. Defendants’ knowledge of the

22 materialness of thread count is evidenced by its inclusion of that information in the names and/or

23 descriptions of WSI’s most expensive bedding.

24          13.    Defendants intended to mislead customers into believing they were purchasing

25 higher thread count bedding than they were actually getting. Defendants’ scheme and pattern of

26
        1
27      Available at http://www.williams-sonoma.com/products/signature-600-thread-count-sateen-
   sheeting/?pkey=chome-sheet-sets&&chome-sheet-sets.
      2
28          Available     at  http://www.williams-sonoma.com/products/signature-linen-bedding-
   2014/?pkey=chome-sheet-sets&&chome-sheet-sets.
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 1 cheating consumers is facilitated by the inability of consumers to readily discern the actual thread

 2 count of the bedding with the untrained and naked eye—a fact that furthers Defendants’ scheme

 3 of cheating its customers and unjustly profiting from its illegal and fraudulent business practices.

 4          14.     Plaintiff brings this action as a class action on behalf of himself and all persons in

 5 the United States who purchased during the limitations period bed sheets or pillowcases from

 6 Williams-Sonoma, Williams-Sonoma Home, Pottery Barn, Pottery Barn Kids, Pottery Barn Baby,

 7 Pottery Barn Teen, PB Teen, PB Dorm, or West Elm that were advertised as having a thread count

 8 of 350 or greater (the Bedding Products).

 9          15.     As Defendants’ conduct is unlawful, Plaintiff, on behalf of himself and the

10 proposed Class, now seeks damages, equitable and injunctive relief, and other remedies for

11 Defendants’ deceptive and unlawful conduct.

12

13                                   JURISDICTION AND VENUE

14          16.     The Court possesses subject matter jurisdiction over this action pursuant to 28

15 U.S.C. § 1332(d)(2) because the proposed class has more than 100 class members, the Plaintiff is

16 a citizen of a state different from any Defendant, and the matter in controversy exceeds the sum of

17 $5 million.

18          17.     The Court has personal jurisdiction over Defendants because they are each
19 incorporated in the State of California. Defendants also purposefully avail themselves of the

20 benefits of doing business in the State of California by maintaining their principal places of

21 business and marketing and selling the products at issue in California, so as to render the exercise

22 of jurisdiction by this Court consistent with notions of fair play and substantial justice.

23          18.     Venue is proper in the District of San Francisco pursuant to 28 U.S.C. § 1391(b)

24 because Defendants each reside and maintain their principal place of business at 3250 Van Ness

25 Avenue, San Francisco, San Francisco County, California. The wrongdoing alleged herein

26 emanated from William-Sonoma’s San Francisco Corporate Headquarters.
27          19.     In compliance with California Civil Code § 1780(d), Plaintiff’s venue affidavit is

28 filed concurrently herewith as Exhibit A.
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 1                                           CHOICE OF LAW

 2          20.     California law governs the claims asserted herein.

 3          21.     No enforceable choice-of-law agreement governs here or compels the application

 4 of different states’ laws.

 5          22.     California’s interest in this action, which seeks to protect the rights and interests of

 6 California and other U.S. residents against a company doing business in California, is greater than

 7 any other State.

 8          23.     A common nucleus of facts and legal issues dominates this litigation. Although

 9 some class members may possess slightly differing remedies based on state statute or common

10 law, the claims asserted by the Plaintiffs are predicated on the same core facts and legal claims

11 with substantially the same relevant elements. To the extent distinct remedies may exist, they are

12 local variants of a generally homogenous collection of causes of action that include consumer

13 fraud, breach of contract, and unjust enrichment.

14          24.     California has the most significant relationship with the parties to the events and

15 occurrences that form the basis of the litigation. Each Defendant in this case is a California

16 corporation and maintains its principal place of business in and operates out of California.

17 Williams-Sonoma Stores, Inc.; Williams-Sonoma, Inc. also d/b/a Williams-Sonoma and Williams-

18 Sonoma Home; Pottery Barn, Inc.; Pottery Barn Kids, Inc. also d/b/a Pottery Barn Baby; Pottery
19 Barn Teens, Inc. also d/b/a PB TEEN and PB Dorm; and West Elm, Inc. each operate at least one

20 retail store, if not the majority of their stores, in California.

21          25.     Application of California law is neither arbitrary nor fundamentally unfair, because

22 California has significant contacts and a significant aggregation of contacts that create a state

23 interest in this litigation.

24                                              THE PARTIES

25          26.     Plaintiff WILLIAM RUSHING is a resident and citizen of Kentucky and, as

26 described below, purchased the product at issue in this Compliant.
27          27.     Defendant WILLIAMS-SONOMA, INC. (“WSI”) is a Delaware corporation that

28 resides and maintains its principal place of business at 3250 Van Ness Avenue, San Francisco, San
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 1 Francisco County, California. Williams-Sonoma, Inc. is primarily in the business of selling

 2 culinary, furniture, and home furnishings through multi-channel marketing, which includes

 3 approximately 579 retail stores as well as direct to consumer channels such as catalogs and e-

 4 commerce. Williams-Sonoma, Inc. is publicly traded on the New York Stock Exchange and owns

 5 and operates using the following wholly owned brands and trademarks: Williams-Sonoma,

 6 Williams Sonoma Home, Pottery Barn, Pottery Barn Kids, PB Teen, PB Dorm, West Elm, Mark

 7 & Graham, and Rejuvenation. Williams-Sonoma, Inc. and all of its brands and trademarks

 8 identified herein will be collectively referred to as “WSI’s Brands.”

 9         28.     WSI also does business under the brand WILLIAMS-SONOMA.                 Williams-

10 Sonoma is a wholly-owned brand and trademark of WSI and operates out of WSI’s principal place

11 of business in San Francisco, California. Williams-Sonoma is the oldest retail store operated by

12 WSI and proclaims itself to be “America’s leader in high-quality cookware and tools, electrics and

13 entertaining essentials.” WSI operates hundreds of Williams-Sonoma stores nationwide, including

14 approximately 13 stores within 100 miles of San Francisco.

15         29.     WSI also does business under the brand WILLIAMS-SONOMA HOME

16 (“Williams-Sonoma Home”). Williams-Sonoma Home is a wholly-owned brand and trademark

17 of WSI that it operates out of WSI’s principal place of business in San Francisco, California. In

18 2005, WSI opened Williams-Sonoma Home as its upscale furniture and home furnishings division.
19 Williams-Sonoma Home sells furniture and home furnishings, including bedding, through eight

20 (8) Williams-Sonoma Home and Williams-Sonoma retail stores in California and eleven (11)

21 Williams-Sonoma Home and Williams-Sonoma retail stores located in Georgia, Illinois,

22 Massachusetts, New Jersey, New York, Oregon, Pennsylvania, Texas, and Washington. Williams-

23 Sonoma Home also sells its home furnishings, including bedding, directly to consumers through

24 Williams-Sonoma Home catalogs and William-Sonoma’s e-commerce website, www.williams-

25 sonoma.com, which is owned by WSI.

26         30.     Defendant WILLIAMS-SONOMA DTC, INC. (“WSDTC”) is a California
27 corporation and wholly owned subsidiary of WSI. WSI operates WSDTC out of WSI’s principal

28 place of business in San Francisco, California. WSDTC is in the business of managing WSI’s
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 1 online and catalog sales, which include the bedding at issue in this case. More than half of the

 2 total revenue from all of WSI’s Brands comes from its e-commerce business. WSDTC will be

 3 referred to as WSI’s “Marketing Subsidiary.”

 4          31.    Defendant WILLIAMS-SONOMA ADVERTISING, INC. (“WSA”) is a

 5 California corporation and wholly owned subsidiary of WSI. WSI operates WSA out of WSI’s

 6 principal place of business in San Francisco, California. WSA is in the business of advertising

 7 WSI’s stores and products, including the bedding at issue in this case. WSA will be referred to as

 8 WSI’s “Advertising Subsidiary.”

 9          32.    Defendant WILLIAMS-SONOMA STORES, INC. (“WSS”) is a California

10 corporation and wholly owned subsidiary of WSI. WSI operates WSS out of WSI’s principal

11 place of business in San Francisco, California. WSS is in the business of managing WSI’s brick-

12 and-mortar stores, many of which offer and sell the bedding at issue in this case.

13          33.    Defendant POTTERY BARN, INC. (“Pottery Barn”) is a California corporation

14 and wholly owned subsidiary, brand, and trademark of WSI. WSI operates Pottery Barn out of

15 WSI’s principal place of business in San Francisco, California. Pottery Barn sells furniture and

16 home furnishings, including bedding, through retail stores nationwide. Pottery Barn also sells its

17 home furnishings, including bedding, direct to consumers through Pottery Barn catalogs and e-

18 commerce website, www.potterybarn.com, which is owned and operated by WSI.
19          34.    Defendant POTTERY BARN KIDS, INC. (“Pottery Barn Kids”) is a California

20 corporation and wholly owned subsidiary, brand, and trademark of WSI that also does business as

21 Pottery Barn Baby. WSI operates Pottery Barn Kids and Pottery Barn Baby out of WSI’s principal

22 place of business in San Francisco, California. Pottery Barn Kids and Pottery Barn Baby sell

23 children’s and baby furniture and home furnishings, including bedding, through retail stores

24 nationwide. Pottery Barn Kids and Pottery Barn Baby also sell their home furnishings, including

25 bedding, direct to consumers through Pottery Barn catalogs and e-commerce website,

26 www.potterybarn.com, which is owned and operated by WSI.
27          35.    Defendant POTTERY BARN TEEN, INC. (“Pottery Barn Teen”) is a California

28 corporation and wholly owned subsidiary, brand, and trademark of WSI that also does business as
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 1 Pottery Barn Dorm and PB Dorm. WSI operates Pottery Barn Teen, Pottery Barn Dorm, and PB

 2 Dorm out of WSI’s principal place of business in San Francisco, California. Pottery Barn Teen,

 3 Pottery Barn Dorm, and PB Dorm sell tween and young adult furniture and home furnishings,

 4 including bedding, through retail stores nationwide. Pottery Barn Teen and Pottery Barn Dorm

 5 also sell their home furnishings, including bedding, direct to consumers through Pottery Barn

 6 catalogs and e-commerce website, www.potterybarn.com, which is owned and operated by WSI.

 7          36.     Defendant WEST ELM, INC. (“West Elm”) is a California corporation and wholly

 8 owned subsidiary, brand, and trademark of WSI. WSI operates West Elm out of WSI’s principal

 9 place of business in San Francisco, California. West Elm sells furniture and home furnishings,

10 including bedding, through West Elm catalogs, its e-commerce website, and at least 65 retail

11 stores, including nine (9) stores in California.              West Elm’s e-commerce website,

12 www.westelm.com, is owned and operated by WSI.

13          37.     Defendant DOES 1-30 are corporations, limited liability companies and individuals

14 whose true names, identities, and relationships are not yet known to Plaintiff. Plaintiff is informed

15 and believes, and on that basis alleges, that each of the fictitiously named Defendants is responsible

16 in some manner for the matters and damages alleged herein, and that their actions were authorized

17 by, ratified by, and known to the named Defendants. Plaintiffs will amend this Complaint, or

18 request leave to do so if required, if and when the identities of the fictitiously-named Defendants
19 become known.

20          38.     At all times mentioned here, each Defendant, including the DOE Defendants, were

21 the alter egos, agents, partners, joint venturers, joint employers, representatives, servants,

22 employees, successors-in-interest, co-conspirators and assigns, each of the other, and at all times

23 relevant hereto were acting within the course and scope of their authority as such alter egos, agents,

24 partners, joint venturers, joint employers, representatives, servants, employees, successors, co-

25 conspirators and assigns, and all acts or omissions alleged herein were duly committed with the

26 ratification, knowledge, permission, encouragement, authorization and consent of each Defendant
27 designated herein. Defendants are, therefore, jointly and severally liable to Plaintiffs for the

28 damages alleged herein.
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 1          39.     The above Defendants will hereinafter be collectively referred to as the

 2 “Defendants.”

 3                   FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

 4                             Defendants Created a Reputation for Being
 5                                    Luxury and Quality Brands
            40.     Defendants are engaged in a continuous and concerted marketing pattern designed
 6
     to instill trust and reliance with consumers and make them believe that WSI’s Brands are purveyors
 7
     of high quality, luxury goods. WSI states as much on its website:
 8

 9                  Founded in 1956, Williams-Sonoma, Inc. is the premier specialty
                    retailer of home furnishings and gourmet cookware in the United
10                  States. Our brands are among the best known and most-respected in
                    the industry. We offer high-quality, stylish products for every room
11                  in the house: from the kitchen to the living room, bedroom, home
                    office and even the hall closet.
12

13                  The first Williams-Sonoma store opened in 1956, selling a small
                    array of cookware imported from France. Since then, the brand has
14                  expanded to hundreds of products from around the world, more than
                    250 stores nationwide, a direct-mail business that distributes
15                  millions of catalogs a year, and a highly successful e-commerce site.
                    What has never changed is Williams-Sonoma's dedication to
16
                    customer service and strong commitment to quality. 3
17
            41.     WSI specifically touts its brand Williams-Sonoma Home as selling luxurious home
18
     décor and furniture of the highest quality and craftsmanship:
19
                    Expanding on the exceptional quality and exquisite craftsmanship
20                  that are hallmarks of the Williams-Sonoma brand, Williams-
                    Sonoma Home offers a bold assortment of casually elegant
21
                    furniture, lighting and decorative accessories that will stand the test
22                  of time. With a focus on exquisite materials and design details,
                    Williams-Sonoma Home designers juxtapose textures, colors and
23                  materials to create products that are as accessible and functional as
                    they are elegant and sophisticated. From kitchen islands and dining
24                  tables, to sofas and chairs custom-upholstered in the United States,
25                  Williams-Sonoma Home brings classic design and timeless luxury
                    to the comforts of home.4
26
        3
27       Available at http://www.williams-sonoma.com/customer-service/about-us.html?cm_type=fnav
   (last visited on Nov. 10, 2015).
       4
28        Available at http://www.williams-sonomainc.com/brands/williams-sonoma-home.html (last
   visited Nov. 5, 2015).
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 1          42.   WSI describes its Pottery Barn brand’s quality similarly:

 2                FOUNDED IN 1949
 3                Pottery Barn was built on the idea that home furnishings should be
                  exceptional in comfort, quality, style and value. From the bedroom
 4                to the bath, the kitchen to the home office, the entryway to the
                  backyard, we have everything you need to create your dream home
 5
                  – and to entertain in it.
 6
                                                  ***
 7                EXCLUSIVELY DESIGNED
 8                We take great pride in our exclusive products. Our in-house
                  designers and expert craftsmen draw inspiration from time honored
 9                designs from all over the world to create unique collections at an
                  excellent value. And we always hold ourselves to the highest
10
                  standards of quality.5
11          43.   WSI describes its Pottery Barn Kids brand’s quality similarly:
12
                  Launched in 1999, Pottery Barn Kids was created by two moms who
13                realized just how much work went into designing great kids’
                  bedrooms. Since then, our mission has been to bring the utmost in
14                quality, comfort, safety, and style into every family’s home. We’re
                  proud to offer our exclusive range of children’s furnishings, textiles,
15                toys and accessories at partterybarnkids.com and in more than 90
16                stores in the US and abroad.6

17          44.   WSI describes its Pottery Barn Teen brand’s quality similarly:

18                Launched in 2003, PBteen was created with one goal in mind: to
                  design an entire collection of furniture and décor just for teens.
19
                  Since then, our mission has been to bring the utmost in quality, style
20                and value to every teen’s bedroom, study area, lounge space, and
                  more.
21
                                                  ***
22
                  We’re proud to offer an exclusive range of furniture, bedding,
23                lighting, accessories and gifts at pbteen.com and in stores across the
                  US.7
24

25
        5
        Available at http://www.potterybarn.com/about-us/?cm_type=fnav (last visited Nov. 10,
26
   2015).
      6
27      Available at http://www.potterybarnkids.com/about-us/?cm_type=fnav (last visited Dec. 1,
   2015).
      7
28      Available at http://www.pbteen.com/about-us/?cm_type=fnav (last visited Dec. 1, 2015)
   (emphasis added).
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 1           45.      West Elm has a variety of modern furniture, décor and bedding. While West Elm,

 2 with some exceptions, sells bedding that generally falls in a lower price point than WSI’s other

 3 brands, it touts its connection with WSI to build trust with its customers and imply quality: “We’re

 4 a member of the Williams-Sonoma, Inc. portfolio of brands.”8 As with its other brands, WSI

 5 stresses the exclusiveness of West Elm’s products:

 6                    West Elm launched in 2002 and quickly became a leader in home
                      furnishings that are approachable, affordable and sustainably
 7
                      produced. Each season, West Elm’s talented in-house team of
 8                    designers creates an exclusive collection, collaborating with artists
                      and independent designers globally and locally. The brand also
 9                    offers handmade and one-of-a-kind discoveries from around the
                      world, partnering with organizations that support the development
10                    of global craft communities.9
11

12                              ASTM D3775 Provides the Standard Testing
                                  Protocol for Calculating Thread Count
13
             46.      For more than 100 years, the American Society for Testing and Materials
14
     International (ASTM), a non-profit international standards organization, has developed the testing
15
     protocols universally used in the textile industry.
16
             47.      “Thread count” represents the number of vertical and horizontal threads (a/k/a
17
     yarns) woven together in a square inch of fabric.
18
             48.      In 1998, the ASTM issued ASTM D3775, its first stand-alone standard for testing
19
     thread count. Although moved into a separate standard, the test method for calculating thread
20
     count did not change. In 2012, ASTM updated D3775’s language, but did not change the standard
21
     test protocol.
22
             49.      According to ASTM D3775-12 § 9.1.1 the following is the Standard Test Method
23
     for determining a fabric’s thread count:
24

25

26       8
         Available at http://www.westelm.com/pages/about-us/our-vision/ (last visited Dec. 30,
27 2015).
       9
         Available at http://www.williams-sonomainc.com/brands/west-elm.html (last visited Dec.
28 30, 2015).
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                   Count the number of warp yarns (ends) and filling yarns (picks) in
 1                 five randomly spaced places diagonally across the width of the
 2                 fabric sampling unit. Count individual warp ends and filling picks
                   as single units, regardless of whether they are comprised of single
 3                 or plied components.10

 4           50.   As shown in the figure below, the warp yarns travel lengthwise along the fabric and
 5 are the yarns that were originally held in tension on a loom or in a frame, while the filling yarns

 6 (f/k/a weft yarns) travel widthwise weaving over and under the warp yarns.

 7
                                             Warp Yarns (Ends) 
 8

 9




                                                                                           Filling Yarn (Picks) 
10

11

12

13

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15

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17

18
19
             51.   ASTM D4850-03a defines the following textile industry terminology used in
20
     ASTM D3775-12 § 9.1.1:
21
                      end, n—in woven fabric, an individual warp yarn (single or ply)
22
                       or cord.
23
                      end count, n—in woven fabric, the number of individual warp
24
                       yarns per inch of fabric regardless of whether they are comprised
25
                       of single or plied components.
26
27      10
        Reprinted, with permission from ASTM D3775-12, § 4.1, Standard Test Method for Fabric
28 Count of Woven Fabric, copyright ASTM International, 100 Barr Harbor Drive, West
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 1                     pick, n—in woven fabric, an individual filling yarn (single or

 2                      ply) or cord source.

 3                     pick count, n—in woven fabrics, the number of individual

 4                      filling yarns per inch of fabric regardless of whether they are

 5                      comprised of single or plied components.11

 6           52.    The ASTM standard thread count test specifically instructs the tester to not count

 7 multiple plies when calculating threat count: “Count individual warp yarns (ends) and filling yarns

 8 (picks) as single units, regardless of whether they are comprised of single or plied components.”12

 9 The definitions of “end count” and “pick count” contain the same instruction for the tester to not

10 count the plies.

11           53.    ASTM standard test D3775 “has been used extensively in the [textile] trade” for

12 calculating thread count, and “is applicable to all types of woven fabrics,”13 including bedding.

13 Digital thread counters and pick counters are also programed to comply with the ASTM D3775

14 Standard.

15           54.    ASTM D3775 is and at all relevant times has been generally accepted in the textile

16 industry as the universal standard for calculating thread count.

17           55.    ASTM D3775 has been accepted by both the American Textile Manufacturers

18 Institute as well as the National Textile Association as the long-accepted standard in the textile
19 industry for determining thread count.

20           56.    ASTM D3775 is the accepted thread count testing standard for the United States

21 Department of Defense14 and the vast majority, if not all, of the fabric testing laboratories in the

22 United States.

23           57.    The Federal Trade Commission (FTC) considers, inter alia, a company’s

24 compliance with ASTM standards in determining whether a company had a reasonable basis for

25 making claims about a product.

26      11
          ASTM D4850-03a.
        12
27        ASTM D3775-12 § 9.1.1.
       13
          Id., § 1.1.
       14
28         Department of Defense Index of Specifications and Standards (DODISS), Alphabetical
   Listing, Part I, July 1, 2005, at 208 (“Fabric, Wrap End Count and Filling Pick Count of Woven”).
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 1           58.    In a FTC staff opinion, dated August 2, 2005, to the National Textile Association’s

 2 Textile Bedding Committee, the FTC confirmed that a yarn’s ply count should not be included in

 3 calculating thread count:

 4                  Based upon the ASTM International, as well as the information you
                    have provided about standard industry practices with regard to
 5
                    disclosing thread count, we believe that consumers could be
 6                  deceived or misled by the practice of stating an inflated thread count,
                    achieved by multiplying the actual count by the number of plies
 7                  within the yarn. A possible non-deceptive way to disclose both the
                    thread count and the yarn ply would be to state, for example, “300
 8                  thread count, 2 ply yarn.” A representation of “600 thread count”
                    for this same product would likely mislead consumers about the
 9
                    quality of the product being purchased.15
10
             59.    As the number of warp yarns and filling yarns is countable, a stated thread count
11
     should be within 5% of the actual thread count. ASTM D3775-12 § 9.1.4 indicates that the
12
     coefficient of variation (also known as “relative standard deviation”) of the five test samples
13
     should 5% or less. It is also common for textile buyers, including American Textile Company,
14
     Nordstrom’s, Walmart, HSN, Kohl’s, Gerber, Kate Spade & Company, and the United States
15
     Government, to specify that a supplied textile not exceed ± 5% or less maximum deviation between
16
     the textile’s declared thread count and its actual thread count as determined using the procedures
17
     set forth in ASTM D3775.
18
             60.    Inaccurately inflated descriptions of thread counts lead consumers to reasonable
19
     but mistaken beliefs about the products’ quality and value, especially when the mislabeled thread-
20
     count is coupled with a premium price.
21
             61.    Indeed, according to an article in the Journal of Consumer Research, Inc., many
22
     consumers equate a product’s higher price with that product being of a higher quality.16
23

24                             Defendants Use WSI’s Reputation as a
                        High-End Retailer to Deceive Consumers into Believing
25                               Its False Thread Count Statements
26      15
          Available at https://www.ftc.gov/sites/default/files/documents/advisory_opinions/national-
27 textile-association/natltextileassn.pdf.
       16
          Journal of Consumer Research, Inc., “High quality or poor value: When do consumers make
28 different       conclusions        about      the        same      product?,”      ScienceDaily.
   www.sciencedaily.com/releases/2012/10/121022121908.htm.
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 1          62.    The Textile Fiber Products Identification Act, 15 U.S.C. § 70, et seq., does not

 2 require a fabric’s thread count to be disclosed on labels or in advertising for the fabric.

 3          63.    Nevertheless, many manufacturers, merchants, and marketers choose to speak on

 4 this subject by indicating specific thread counts on their products’ labels and in advertising for

 5 those products to compete with other products and justify their product’s price.

 6          64.    Defendants generally identify the thread counts for WSI’s Brands’ purportedly

 7 higher thread count bedding on the products’ label, in its catalogs, and on its website. Some of

 8 these products even state the thread count in the product’s name.

 9          65.    Defendants descriptions of WSI’s Brands’ bedding products in catalogs, online,

10 and in stores creates the impression that quality, comfort, elegance, style and prestige are

11 synonymous with a high thread count and superior yarn, and that Defendants has investigated and

12 reported these factors accurately to the consumer. Either Defendants do nothing to substantiate

13 their claims, or they are illegally and intentionally spreading false information.

14          66.    Defendants deceptively sell their mislabeled bedding amongst other luxury goods

15 in sleek high-end catalogs and stores designed to appeal to sophisticated and affluent consumers.

16 For example, WSI markets various brands of sheets that are highly priced, and shown in ornate,

17 beautifully produced catalogs and websites. Defendants’ products, including its bedding, are often

18 photographed in luxurious surroundings, nicely displayed, privately branded, and are said to be of
19 the finest materials (like Egyptian cotton) and construction (like 600 thread count).

20          67.    Defendants misrepresented, and continue to misrepresent, the thread count in many

21 of the bedding products they advertise and distribute throughout the country. Defendants’

22 misrepresentations have resulted in the sale, to consumers across the nation, of high-priced

23 “luxury” bedding that Defendants falsely and deceptively described and advertised as containing

24 as much as double the thread count than revealed through testing.

25          68.    The bedding purchased by Mr. Rushing is a perfect example of WSI’s deceptive

26 practice. WSI offers a single set of its Williams-Sonoma Home’s “Signature 600-Thread-Count
27 Sateen Bedding,” depending on size, for $489 or $499.

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 1          69.    Upon information and belief, WSI has sold at least thousands of sets of its

 2 “Signature 600-Thread-Count Sateen Bedding” to consumers during the four years prior to the

 3 filing of this lawsuit.

 4          70.    WSI and its Advertising and Marketing Subsidiaries describe Williams-Sonoma

 5 Home’s “Signature 600-Thread-Count Sateen Bedding” as follows:

 6                 Sewn from lustrous 600-thread-count two-ply Egyptian-cotton
                   sateen, our Italian bedding becomes even richer in texture with use
 7
                   and laundering. In classic ivory or white, the pieces offer an elegant
 8                 foundation for layering.

 9          71.    The back of the “Signature 600-Thread-Count Sateen Bedding” packaging that
10 customers would see on display at WSI’s brick-and-mortar stores, and that is shipped to online

11 and catalog customers, including Mr. Rushing, repeats the above uniform representations about

12 the bedding’s purported high quality:

13    ///
14    ///
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            72.    Nevertheless, testing that complies with the ASTM International Standard
25
     Designation D3775-12 reveals that William-Sonoma Home’s “Signature 600-Thread-Count
26
     Sateen Bedding” is not 600 thread count as advertised, but merely 291.
27
            73.    Specifically, the samples tested from the “Signature 600-Thread-Count Sateen
28
     Bedding” that Mr. Rushing purchased resulted in the following results:
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                           Pillowcases
 1
                           Average number of warp yarns (ends): 202
 2                         Average number of filling yarns (picks): 89
                           Thread count: 291 Threads per Inch
 3
                           Sheets
 4
                           Average number of warp yarns (ends): 202
 5                         Average number of filling yarns (picks): 89
                           Thread count: 291 Threads per Inch
 6
             74.    To comply with the industry’s ± 5% maximum deviation allowance, a product
 7
     advertised and marketed as having a 600 thread count must have an actual thread count between
 8
     570 and 630. At 291, Williams-Sonoma Home’s “Signature 600-Thread-Count Sateen Bedding”
 9
     falls well below the acceptable thread count range and is more than 1000% of the allowed
10
     deviation.
11
             75.    WSI sold its Williams-Sonoma Home’s “Signature 600-Thread-Count Sateen
12
     Bedding” at a premium price of nearly $500 a set. If properly advertised and marketed as 300
13
     thread count, this set of sheets would not demand such a premium price. For example, JC Penny
14
     offers a set of King-size 300 thread count, single ply (a more desirable feature), Egyptian Cotton
15
     Sateen Sheets for $320—two-thirds of WSI’s price. Indeed, even WSI’s Pottery Barn brand
16
     purports to offer a 300 thread count Egyptian cotton sateen weave set of King-size sheets for only
17
     $89.
18
             76.    Defendants mislabeled, marketed, and sold and, with the exception of discontinued
19
     products, continue to mislabel, market, and sell, to class members the following sheets and
20
     pillowcases that are similarly mislabeled and marketed with inflated thread counts over 350 (the
21
     “Bedding Products”):17
22
                    a)     Williams-Sonoma Home Signature 600-Thread-Count Sateen Bedding
23
                    b)     Williams-Sonoma Home Greek Key Jacquard 600-Thread-Count Bedding
24

25
         Because the names for products may vary slightly between Defendants’ websites and their
        17
26
   catalogs, Plaintiff only lists the website names here, but the list of Bedding Products includes all
27 such products regardless of whether sold via the website or catalog. For example, the same product
   is described as “700-Thread-Count Sheet Set” on Pottery Barn’s website and as “700-Thread-
28 Count Cotton Sateen” in its catalog. Because it is the same product, listing of the former therefore
   includes the later
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 1               c)    Williams-Sonoma Home Suzani Jacquard Bedding (500 TC)

 2               d)    Williams-Sonoma Home Signature Percale Bedding (400 TC)

 3               e)    Pottery Barn 700-Thread-Count Sheet Set

 4               f)    Pottery Barn Morgan 400-Thread-Count Sheet Set

 5               g)    Pottery Barn PB Organic 400-Thread-Count Sheet Set

 6               h)    Pottery Barn PB Classic 400-Thread-Count Sheet Set

 7               i)    Pottery Barn Zoe Embroidered 400-Thread-Count Sheet Set

 8               j)    Pottery Barn PB Organic 350-Thread-Count Sheet Set

 9               k)    Pottery Barn 350-Thread-Count Organic Cotton Sateen Sheet Set

10               l)    Pottery Barn Avery Embroidered Organic Sateen Sheet Set (350 TC)

11               m)    Pottery Barn Kendall Scarf Print Organic Bedding (350 TC)

12               n)    Pottery Barn Teen 400 Thread-Count Sheet Set

13               o)    Pottery Barn Kid Monique Lhuillier Etheral Butterfly Sateen Sheet Set (350 TC)

14               p)    Pottery Barn Kid Monique Lhuillier Garden Cuff Sateen Sheet Set (350 TC)

15               q)    Pottery Barn Kid Monique Lhuillier Scattered Paper Planes Sateen Sheet Set

16                     (350 TC)

17               r)    Pottery Barn Kid Monique Lhuillier Flight of Birds Sateen Sheet Set (350 TC)

18               s)    Pottery Barn Kid Chevron Ikat Organic Sateen Crib Fitted Sheet (350 TC)
19               t)    Pottery Barn Kid Baby Geo Sateen Crib Fitted Sheet (350 TC)

20               u)    Pottery Barn Kid Baby Clover Sateen Crib Fitted Sheet (350 TC)

21               v)    Pottery Barn Kid Baby Chevron Sateen Crib Fitted Sheet (350 TC)

22               w)    Pottery Barn Kid Monique Lhuillier Sateen Ethereal Butterfly Bassinet Fitted

23                     Sheet (350 TC)

24               x)    Pottery Barn Kid Monique Lhuillier Paper Planes Bassinet Fitted Sheet (350 TC)

25               y)    Pottery Barn Kid Butterfly Sateen Sheet Set (350 TC)

26               z)    Pottery Barn Kids Sateen Crib Fitted Sheet (350 TC)
27               aa)   Pottery Barn Kids Organic Sleepy Sheep Crib Fitted Sheet (350 TC)

28               bb)   Pottery Barn Kids Organic Sateen Crib Fitted Sheet (350 TC)
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 1                 cc)    West Elm 400-Thread-Count Organic Cotton Percale Sheet Set

 2                 dd)    West Elm 350-Thread-Count Organic Sateen Sheet Set

 3                 ee)    Discontinued bedding sold and discontinued during the limitations period

 4                        that was labeled and/or advertised as having a thread count of over 350.

 5         77.     Defendants’ practice of inflating thread count is an outline of deceit and

 6 wrongdoing that permits Defendants to illegally profit from its enterprise of offering and selling

 7 bedding products to the general public which are not of the quality represented by Defendants.

 8         78.     The resolution of the asserted claims will be the same between both the bedding

 9 Mr. Rushing purchased and the unpurchased Bedding Products because Mr. Rushing’s purchased

10 bedding and the unpurchased Bedding Products are both

11                 a)     sheets and accompanying pillowcases;

12                 b)     affirmatively touted by Defendants as having a specific thread count in

13                        either the name of or narrative description for each Bedding Product in

14                        Defendants’ catalogs and websites;

15                 c)     advertised as having higher-thread counts (thread counts over 350);

16                 d)     subject to Defendants’ method of calculating thread count that fails to

17                        comply with the textile industry’s generally accepted standard, which is

18                        represented in ASTM D3775; and
19                 e)     advertised as having thread counts that were artificially inflated to mislead

20                        consumers into believing the products are of a higher-thread count.

21         79.     Each of WSI’s Brands follows the same pattern of falsely, deceptively, and illegally

22 advertising and marketing their bedding by overstating thread count amounts. This deception is

23 carried out on behalf of WSI’s Brands by and through the marketing and advertising actions of

24 WSI’s Marketing and Advertising Subsidiaries and Williams-Sonoma Stores, Inc.

25         80.     For example, WSI’s Pottery Barn brand describes its “700-THREAD-COUNT

26 SHEET SET” as “Sateen woven of cotton to an unrivaled 700-thread count, our sheet set brings
27 unparalleled softness and comfort to the bed.”

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 1         81.     Testing of Pottery Barn’s “700 THREAD-COUNT SHEET SET” demonstrated

 2 that the actual thread count is far lower than that which Pottery Barn, WSI, and its Advertising and

 3 Marketing Subsidiaries purport it to be. In actuality, this bedding only has a thread count of

 4 approximately 570 — far below the stated 700 thread count.            Pottery Barn, WSI, and its

 5 Advertising and Marketing Subsidiaries falsely advertise and market 570 thread count bedding as

 6 having a thread count of 700.

 7         82.     To comply with the industry’s ± 5% maximum deviation allowance, a product

 8 advertised as having a 700 thread count, must have an actual thread count between 665 and 735.

 9 At 570, Pottery Barn’s “700 THREAD-COUNT SHEET SET” also falls well below the acceptable

10 thread count range and is more than 370% of the allowed deviation.

11         83.     By way of further example, WSI’s brand Pottery Barn Teen advertises and markets

12 mostly bedding labeled as 200 thread count and bearing non-thread count identifying names, such

13 as the “Peyton Sheet Set” or “Dottie Sheet Set.” But it also sells a set of sheets named “400

14 Thread-Count Sheet Set,” which is the highest thread count purportedly sold at Pottery Barn Teen.

15         84.     Testing of Pottery Barn Teen’s “400 Thread-Count Sheet Set” demonstrated that

16 the actual thread count is almost half that which Pottery Barn Teen, WSI, and its Advertising and

17 Marketing Subsidiaries purport it to be. In actuality, this bedding only has a thread count of

18 approximately 208— far below the stated 400 thread count. Pottery Barn Teen, WSI, and its
19 Advertising and Marketing Subsidiaries falsely advertise and market 208 thread count bedding as

20 having a thread count of 400.

21         85.     To comply with the industry’s ± 5% maximum deviation allowance, a product

22 advertised as having a 400 thread count, must have an actual thread count between 380 and 420.

23 At 208, Pottery Barn Teen’s “400 Thread-Count Sheet Set” falls well below the acceptable thread

24 count range and is more than 950% of the allowed deviation.

25         86.     Similarly, WSI’s West Elm brand also markets mostly bedding advertised and

26 marketed as 200 thread count and bearing non-thread count identifying names, such as the
27 “Organic Harmony Sheet Set” or “Polka Dot Sheet Set.” But it also advertises and markets a set

28 of sheets named “350-Thread-Count Organic Sateen Sheet Set” and “400-Thread-Count Organic
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 1 Cotton Percale Sheet Set,” which are the highest thread counts purportedly sold at West Elm. West

 2 Elm, WSI, and its Advertising and Marketing Subsidiaries advertise and market West Elm’s “350

 3 Thread Count Organic Cotton Sateen Sheet Set” as “Understated elegance. Edges bordered with

 4 subtle scalloped embroidery add a layer of luxury to this 350-thread count Organic Sateen Sheet

 5 Set.” They advertise and market West Elm’s “400-Thread-Count Organic Cotton Percale Sheet

 6 Set” as West Elm’s “highest thread count (and softest!) sheet set ever. Woven of 100% organic

 7 cotton percale, they’re designed for everyday use yet feel like luxe hotel bedding.”

 8          87.    West Elm’s “400-Thread-Count Organic Cotton Percale Sheet Set” has been on

 9 backorder for months. However, testing of West Elm’s “350 Thread Count Organic Cotton Sateen

10 Sheet Set” demonstrated that the actual thread count again is outside the 5% industry allowance.

11 In actuality, this bedding only has a thread count of approximately 320. West Elm, WSI, and its

12 Advertising and Marketing Subsidiaries falsely advertise and market 320 thread count bedding as

13 having a thread count of 350.

14          88.    To comply with the industry’s ± 5% maximum deviation allowance, a product

15 advertised as having a 350 thread count, must have an actual thread count between 332 and 368.

16 At 320, West Elm’s “350-Thread-Count Organic Sateen Sheet Set” also falls below the acceptable

17 thread count range and is more than 170% of the allowed deviation.

18          89.    Pottery Barn Kids, WSI, and its Advertising and Marketing Subsidiaries also
19 advertise and market higher thread count, and more expensive, Pottery Barn Kids brand sheets.

20 Pottery Barn Kids’ “Sateen Crib Fitted Sheet,” “Organic Sleepy Sheep Crib Fitted Sheet,” and

21 “Organic Sateen Crib Fitted Sheet,” for example, are each described as having a “350-thread

22 count.” Pottery Barn Kids charges more for these purported 350 thread count crib sheets than it

23 charges for its standard 200 thread count crib sheets.

24          90.    Plaintiff has not yet tested these Pottery Barn Kids’ sheets, but based on WSI and

25 its Advertising and Marketing Subsidiaries’ pattern and practice of overstating the thread count of

26 its bedding throughout all of its other brands, it is reasonable to presume that WSI and its
27 Advertising and Marketing Subsidiaries similarly overstates the thread count of its Pottery Barn

28 Kids’ bedding by more than 5%.
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 1          91.    Interestingly, WSI advertised the correct thread count for one of its low thread

 2 count bedding. For example, Williams-Sonoma Home’s least expensive set of non-flannel sheets

 3 are its “Everyday Luxury Oxford Sheeting.” WSI advertises and markets these sheets as 150-

 4 thread count and sells one set, depending on size, for $239 or $259. When tested pursuant to the

 5 ASTM D3775-12 Standard, the “Everyday Luxury Oxford Sheeting” was found to be made of

 6 two-ply construction and came within 5% of its advertised thread count.

 7          92.    For the last four (4) years and beyond, each Defendant has been engaged in the

 8 business of selling and/or advertising falsely and deceptively described bedding products

 9 (“bedding”) within the State of California and throughout the United States.

10          93.    Defendants continue to allow their bedding collections to be sold without revealing

11 to consumers the true thread counts of the Bedding Products or that their representations are false,

12 misleading, and violate the law.

13          94.    Defendants’ precise representations of thread count, rather than general claims of

14 “high thread count” or “good cotton” are designed to create three impressions in the minds of

15 consumers. First, thread count is important and should be material to consumers’ decisions

16 regarding bedding. Second, yarn source is important. Third, thread counts are accurate. These

17 impressions lead reasonable consumers to believe Defendants’ representations about their bedding

18 products when it comes to thread count and the source of the yarn used in making them.
19          95.    Consumers reasonably rely upon Defendants’ statements about the Bedding

20 Products’ thread counts and remain unaware that Defendants are actually engaged in an overall

21 deception that allows Defendants to deceive reasonable consumers through passing off goods as

22 ones that are really something else.

23          96.    Defendants’ marketing deceptions are found in and reinforced by, but are not

24 limited to, its branding, advertising, packaging, labeling, pricing, product placement, store

25 location, store appearance, and employee policies. All have created an atmosphere of trust among

26 customers that Defendants sell high quality products that are accurately described as to content,
27 and that product content is material to consumers. Hence, Defendants are trying to differentiate

28 their products in a way that causes consumers to have faith and trust in representations concerning
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 1 product content to a greater degree than consumers do for many other merchandisers of similar

 2 goods, such as flea markets, street vendors, local discount stores, and the like. Defendants foster

 3 the belief that WSI’s Brands are synonymous with high quality and truthful marketing, which

 4 allows Defendants to charge a higher price for all of the deceptively labeled Bedding Products

 5 notwithstanding their actual characteristics and qualities.

 6          97.    Defendants’ overall deception is demonstrated in many ways:

 7          98.    First, each false and deceptive statement about a particular item is part of a larger

 8 marketing plan or strategy that is coordinated by many people, over a period of time, and through

 9 many different channels.

10          99.    Second, the deception is demonstrated by Defendants selling the same illegally

11 described individual items many times over the course of years. For example, the allegation is not

12 that one higher thread count sheet was falsely described to one buyer but that they were falsely

13 described and sold to thousands of buyers over the course of many years.

14          100.   Third, the deception is demonstrated by the repetitive use of the same false and

15 illegal statements in different channels of publication over a considerable period of time. For

16 example, a given item is falsely described over time on the product’s label in stores, in multiple

17 different catalogs, and in multiple different iterations of Web and print advertising.

18          101.   Fourth, the deception is demonstrated by falsely describing the content of many
19 different items within the same product category (e.g., higher thread count bedding) over

20 considerable periods of time while at the same time disguising the falsity by accurately describing

21 some items within the broader category (e.g., bedding generally).

22          102.   Fifth, the deception is demonstrated through Defendants’ activities taking place

23 across a spectrum of different brands and marketing outlets that are all coordinated and controlled

24 by the same parent company or controlling agents. For example, WSI touts high thread count as

25 material to the overall quality and value of bedding through several different brands that are

26 targeted to many of the same consumers. WSI then offers generally lower-priced goods in the
27 same category (e.g., bedding) through outlets like West Elm catalogs, which generally are not

28 touted as better quality because of thread count.
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 1          103.    Sixth, the deception is demonstrated by Defendants’ use of “private label” branding

 2 strategies designed to foster faith and trust in brand names controlled by Defendants rather than

 3 brands used by others or non-branded goods. For example, Defendants sell its Everyday Luxury

 4 bedding and describe it accurately as to thread count while selling its “exclusive” and “signature”

 5 brands with different and false thread count claims. No explanation is ever provided by these

 6 Defendants that thread counts are not based on the same standard for reporting this luxury-creating

 7 feature.

 8          104.    Each of Defendants’ foregoing wrongful deceptive acts or omissions, working

 9 separately and in tandem, were designed to cause consumers to believe, and do cause consumers

10 to believe, that representations by WSI’s Brands are true and reliable.

11          105.    The Federal Trade Commission Act (FTCA), Consumer Legal Remedy Act

12 (CLRA) and the Unfair Competition Law (UCL) all make such deceptive business practices

13 unlawful. The illegal conduct directly caused consumers to be deceived and overcharged.

14          106.    Defendants must have a factual basis for claims made about the content of the

15 products they offer for sale. Discovery should require each Defendant to provide a factual basis

16 for its claims as to its various products’ thread-counts because it is unfair and unreasonable to

17 expect that Plaintiff could purchase and test every bedding item sold by WSI’s Brands and because

18 the scope of the false descriptions is part and parcel of the overall improper and illegal pattern.
19          107.    Consumers who have purchased falsely described products are entitled to obtain

20 the benefit of their bargain through receipt of goods made as described in advertising or they should

21 receive a full refund plus interest of any purchase price.

22          108.    Defendants deliberately and wrongfully exploited the fact that consumers cannot

23 readily discern the difference between thread counts and sources of yarn. Consumers must

24 necessarily rely upon Defendant's representations and advertising.

25          109.    Inaccurate descriptions of thread counts lead to reasonable but mistaken beliefs by

26 consumers about the products. Indeed, if a bedding package’s label states that it contains 600
27 thread count sheets, no reasonable consumer would believe otherwise.

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 1         110.    Defendants have created a system that has encouraged and led to widespread fraud,

 2 deception, illegality, untruthfulness, and unfairness relating to the merchandising of the Bedding

 3 Products.

 4         111.    Defendants have failed to stop the practices alleged herein and continue to falsely

 5 market the products and will continue to do so unless stopped by order of the Court. Plaintiff seeks

 6 redress of this wrongdoing through issuance of an injunction and restitution to injured consumers.

 7         112.    Defendants have consistently and repeatedly engaged in the following practices of

 8 deception in connection with the manufacture and sale of WSI’s Brands’ products:

 9                 a)      Failing to make complete, proper and adequate disclosures of the

10                         composition and quality of the goods it markets, when it speaks on the

11                         subject;

12                 b)      Falsely describing the goods;

13                 c)      Overcharging consumers who buy the falsely described goods;

14                 d)      Concealing the facts contained in paragraphs (a), (b), and (c) above from

15                         consumers;

16                 e)      Falsifying advertisements and other promotional materials used to market

17                         the products to conceal Defendants’ misconduct and to make it seem as if

18                         Defendants were in full compliance with legal and contractual
19                         requirements;

20                 f)      Wrongfully procuring monies from customers; and

21                 g)      Engaging in a policy of collecting money and excessive prices as the

22                         probable and natural consequence of the wrongful business practices

23                         alleged herein.

24         113.    Defendants have held themselves out to Plaintiff and other consumers as being

25 experts in the field of identifying and offering top-shelf luxury goods, including bedding.

26 Accordingly, the foregoing activities, concealment, and patterns and practices of deceptive
27 business activities have been known to or by Defendants, or given their industry knowledge,

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 1 reasonably should have been known to self-describe merchandisers of luxury bedding for

 2 consumers.

 3          114.     The above-intentional acts of Defendants, and each of them, in disseminating said

 4 misleading statements from within the State of California and to the general public thereof are

 5 likely to deceive the general public of the State of California and nationwide by obfuscating the

 6 quality of the Bedding Products’ thread counts.

 7          115.     Defendants’ illegal business practice should in equity be reformed and enjoined

 8 both by providing relief to individual consumers and ordering Defendants to correct the false

 9 impression engendered in the Class and the general public by their ongoing deception. Corrective

10 advertising should be ordered to correct the impressions created by the illegal practices in order to

11 fully remedy the wrong done to the Class.

12
                         APPLICATION OF THE DISCOVERY RULE AND
13                       THE FRAUDULENT CONCEALMENT DOCTRINE
14          116.     Plaintiff and the Class aver that, based on the false and misleading information fed
15 to them, and the material information concealed from them by Defendants, under the discovery

16 rule they did not discover and did not have reason to discover their causes of action relating to

17 Defendants’ fraudulent scheme to misidentify its beddings’ thread count and yarn origin before

18 April 21, 2015, at the earliest. Prior to that date, Plaintiff and the other customers did not have a
19 reasonable factual basis to suspect that they had been harmed by the illegal course of conduct

20 alleged herein.

21          117.     Alternatively, under California’s fraudulent concealment doctrine, the limitations
22 period was likewise tolled at least through April 21, 2015, based on Defendants’ active deceptive

23 conduct in concealing the Plaintiff’s and Class’s causes of action for violations of California law

24 as alleged more fully above.

25

26                                  CLASS ACTION ALLEGATIONS
27          118.     Plaintiffs bring this action on behalf of the following consumer class (the “Class”):
28
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                    All persons in the United States who purchased during the
 1                  limitations period bed sheets or pillowcases from Williams-
 2                  Sonoma, Williams-Sonoma Home, Pottery Barn, Pottery Barn Kids,
                    Pottery Barn Baby, Pottery Barn Teen, PB Teen, PB Dorm, or West
 3                  Elm that were advertised as having a thread count of 350 or greater
                    (the Bedding Products).
 4
            119.    Excluded from the Class are Defendants, their employees, co-conspirators, officers,
 5
     directors, board members, legal representatives, heirs, successors and wholly or partly owned
 6
     subsidiaries or affiliated companies; class counsel and their employees; and the judge and court
 7
     staff to whom this case is assigned. Plaintiffs reserve the right to amend the definition of the class
 8
     and propose subclasses if discovery or further investigation reveals that the class should be
 9
     expanded or otherwise modified.
10

11
                                  Rule 23(a) & Section 1781(b) Elements
12
            120.    Numerosity. Plaintiff believes and alleges that membership in the Class is so
13
     numerous that joinder of all members is impracticable. The disposition of these claims in a class
14
     action will provide substantial benefits to the parties, class members, and the Court. Although the
15
     number of class members and their names are presently unknown, this information can be readily
16
     determined from Defendants’ records. Upon information and belief, the Class includes thousands
17
     of purchasers geographically dispersed throughout the United States.
18
            121.    Ascertainability.     The Class is ascertainable as it consists of persons who
19
     purchased bedding from any of the Defendants during the limitations period. The identities and
20
     addresses can be discovered by objective criteria found in Defendants’ records. If required, class
21
     members may be notified of the pendency of this action by mail, publication and/or other notice.
22
     If necessary to preserve the case as a class action, the court itself can redefine the Class and any
23
     subclass.
24
            122.    Commonality. All members of the Class have been subject to and affected by the
25
     same conduct – Defendants’ policy and practice of not following the Industry Standard for
26
     calculating thread count and then misrepresenting and artificially inflating their bedding’s thread
27
     count to consumers. The relief sought is common, unitary, and class-wide in nature.
28
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 1          123.    Typicality. Plaintiff is a member of the class of victims described herein. Plaintiff

 2 purchased a set of sheets advertised as containing 600 thread count from WSI’s Williams-Sonoma

 3 Home that upon testing was proven to only be 291 thread count. Plaintiff’s claims or defenses are

 4 typical of the Class’s claims and defenses. If brought and prosecuted individually, the claims of

 5 each class member would require proof of the same material and substantive facts, rely upon the

 6 same remedial theories, and seek the same relief. Then, once Defendants’ liability is established,

 7 the Court and a jury can determine the claims of each member of the Class on the uniform basis

 8 of the value and date of their investments. There will also be no difficulty in the management of

 9 this litigation as a class action.

10          124.    Adequacy. Plaintiff will fairly and adequately represent and protect the interests

11 of the Class and have no interests adverse to, or that directly and irrevocably conflict with, the

12 interests of other class members. Plaintiff is willing to serve the Court and Class in a representative

13 capacity with all of the obligations and duties material thereto.

14          125.    Plaintiff has retained the services of counsel, identified on the caption and signature

15 page, who are experienced in complex litigation, class actions, consumer fraud, and thread-count

16 litigation. Plaintiff’s counsel will adequately prosecute this action, and will otherwise assert,

17 protect, and fairly and adequately represent Plaintiff and all absent class members.

18 ///
19 ///

20 ///

21                                              Rule 23(b)(3)

22          126.    This action is appropriate as a class action pursuant to Rule 23(b)(3).

23          127.    Predominance. Numerous and substantial questions of law and fact are common

24 to all class members and predominate over questions that may only affect individual members of

25 the Class. These questions of law and fact include, but are not limited to, the following:

26                  a)      Whether Defendants violated and are liable for violations of California’s
27                          Business and Professions Code § 17500, et seq.;

28
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 1                 b)      Whether Defendants made false misrepresentations and/or failed to disclose

 2                         material information to Plaintiffs and the Class concerning the thread count

 3                         of any of the bedding sold by WSI’s Brands;

 4                 c)      Whether ASTM D3775 Standard Test Method for Warp (End) and Filling

 5                         (Pick) Count of Woven Fabrics represented, at all times during the

 6                         limitations period, the generally accepted method in the textile industry for

 7                         calculating thread count in the United States;

 8                 d)      Whether Defendants calculated their advertised thread count pursuant to the

 9                         ASTM D3775 Standard;

10                 e)      Whether Plaintiff and the Class have sustained injury by reason of

11                         Defendants’ actions, misrepresentations and omissions;

12                 f)      Whether Defendants are jointly and severally liable for their actions,

13                         misrepresentations and omissions;

14                 g)      Whether Defendants breached their contracts with Plaintiff and the Class;

15                 h)      Whether Plaintiffs and the other members of the Class are entitled to

16                         equitable relief; and

17                 i)      Whether Plaintiffs and the other members of the Class are entitled to recover

18                         damages and the amount of damages that members of the Class are entitled
19                         to recover.

20          128.   Superiority. A class action is superior to other available methods for the fair and

21 efficient adjudication of this controversy because proceeding as a class action will permit an

22 orderly and expeditious administration of the Class’s claims, will foster economies of time, effort

23 and expense and will ensure uniformity of decisions. Specifically, a class action is superior to

24 other available methods for the fair and efficient adjudication of this litigation for the following

25 reasons:

26                 a)      The Court can use the class action device to orderly and expeditiously
27                         resolve several common issues that affect all class members instead of using

28
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 1                          the time and resources required to resolve thousands of individual actions

 2                          asking those same question;

 3                  b)      Economies of time, effort, and expense will be fostered and uniformity of

 4                          decisions will be insured;

 5                  c)      Individual litigation presents a potential for inconsistent or contradictory

 6                          judgments, and increases the delay and expense to all parties and the court

 7                          system presented by legal and factual issues of the case;

 8                  d)      The damages sustained by individual class members are relatively small and

 9                          the expense and burden of individual litigation makes it impossible for the

10                          class members to individually redress the wrongs done to them;

11                  e)      In addition to monetary relief, Plaintiffs are seeking class-wide injunctive

12                          relief to stop Defendants’ unlawful conduct going forward, which relief

13                          cannot be obtained absent class certification;

14                  f)      After determining the common issues of Defendants’ liability, the class

15                          member’s claims can be administered efficiently under the direction of or

16                          as determined by the Court;

17                  g)      Without a class action, Defendants will continue to violate the law and

18                          consumers will continue to purchase misrepresented bedding at inflated
19                          prices. Such action will proceed without a remedy while Defendants

20                          continue to reap and retain the substantial proceeds of their wrongful

21                          conduct; and

22                  h)      A class action presents fewer management difficulties, and provides the

23                          benefits of a single adjudication, economy of scale, and comprehensive

24                          supervision by a single court.

25          129.    Plaintiff knows of no difficulty that would be encountered in managing this

26 litigation as a class action.
27          130.    Therefore, class treatment of Plaintiff’s claims is both appropriate and necessary.

28
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 1                                PLAINTIFF WILLIAM RUSHING

 2          131.   Mr. Rushing had been a prior Williams-Sonoma customer, received their catalogs

 3 in the mail, and had previously visited a Williams-Sonoma store. However, the Williams-Sonoma

 4 store he had visited was a culinary supply store, and did not have bedding on display. From

 5 Williams-Sonoma’s catalogs (a/k/a Williams-Sonoma Home catalogs), Mr. Rushing learned that

 6 Williams-Sonoma also sold purportedly high thread count bedding.

 7          132.   For Valentine’s Day 2015, Mr. Rushing decided to give his wife a set of sheets.

 8 But he was not interested in buying her average quality sheets for Valentine’s Day. Rather, he

 9 wanted to give her soft, luxurious, high-quality sheets for this special occasion. On or before

10 February 10, 2015, Mr. Rushing, looking for bedding to purchase for his wife’s gift, reviewed one

11 of the Williams-Sonoma (a/k/a Williams-Sonoma Home) catalogs he had previously received. He

12 had purchased other items from Williams-Sonoma and was aware that it would be more expensive

13 than buying from many other retailers. Based on Williams-Sonoma’s reputation, however, Mr.

14 Rushing believed it would be worth the extra expense when purchasing what he believed would

15 be soft, luxurious, high-quality sheets.

16          133.   As Mr. Rushing was shopping for Valentine’s Day, he did not wish to order using

17 the catalog’s mail order form, so he went to the website indicated on WSI’s catalog. On or about

18 February 10, 2015, Mr. Rushing reviewed WSI’s bedding options again, this time on WSI’s
19 website, and selected and purchased WSI’s Williams-Sonoma Home’s King-size “Signature 600-

20 Thread-Count Sateen Bedding” because WSI’s website advertised them as being 600 thread count,

21 made in Italy, made of Egyptian cotton, and the retailer’s “Signature” line. He also ordered an

22 extra pair of matching pillowcases. Mr. Rushing viewed WSI’s misleading catalog and website

23 descriptions of its bedding options and reasonably relied in substantial part on those

24 representations. Mr. Rushing was thereby deceived by both descriptions in deciding to purchase

25 the “Signature 600-Thread-Count Sateen Bedding” for a premium price.

26          134.   As Williams-Sonoma Home products are not sold in Mr. Rushing’s home state, he
27 had to, and did, reasonably rely on WSI and its Advertising and Marketing Subsidiaries’

28 representations about the product on WSI’s website and in its catalog.
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 1         135.    As illustrated below, on Williams-Sonoma Home’s website, WSI, through its

 2 Advertising and Marketing Subsidiaries, boasted that the bedding was 600 thread count and of

 3 Egyptian cotton thread: “Sewn from lustrous 600-thread-count two ply Egyptian-cotton sateen,

 4 our Italian bedding becomes even richer in texture with use and laundering. In classic ivory or

 5 white, the pieces offer an elegant foundation for layering.”

 6         136.    The following is a true and accurate image of WSI’s webpage offering for

 7 Williams-Sonoma Home’s “Signature 600-Thread-Count Sateen Bedding”:

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 1         137.    Mr. Rushing’s final cost for one set of sheets and an extra set of pillowcases was

 2 $774.20:

 3                                SG 600TC STN K IV             $499.00

 4                                S600 ST CSPR KGIVR            $159.00

 5                                Subtotal                      $658.00

 6                                Shipping and Processing       $72.38

 7                                Tax                           $43.82

 8                                Total                         $774.20

 9         138.    Mr. Rushing had never paid this much money for a set of sheets and pillowcases,

10 but he was not purchasing them for himself. He planned to give them to his wife as a gift for

11 Valentine’s Day.

12         139.    While Mr. Rushing thought the bedding to be expensive, he believed the higher

13 price was supported by WSI and its Advertising and Marketing Subsidiaries’ representations that

14 the bedding was 600 thread count, Egyptian cotton, and its most luxurious “Signature” bedding.

15 Like most consumers, Mr. Rushing equated higher thread count numbers with better quality sheets.

16 He also understood that Egyptian cotton sheets were the highest quality. Like most consumers, he

17 also believed Italian made linens were high quality. Trusting WSI’s representations, Mr. Rushing

18 believed the higher price he paid by buying this bedding would be reflected in the quality of the
19 bedding and, therefore, worth the money.

20         140.    Based on WSI and its Advertising and Marketing Subsidiaries’ representations of

21 this line of bedding, Mr. Rushing expected the sheets to be of high quality, extremely soft and

22 luxurious. But they were not. Mr. Rushing was so disappointed in the quality of the bedding that

23 arrived, that he decided not to give them to his wife for Valentine’s Day.

24         141.    Mr. Rushing was not only disappointed, but felt betrayed by WSI and did not know

25 until recently that the bedding was only approximately 291 thread count. Had he known this fact,

26 Mr. Rushing would not have purchased the bedding at such a high price.
27         142.    As a direct result of the conduct alleged herein, Mr. Rushing has been damaged in

28 an approximate amount of $774.20.
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 1          143.   Mr. Rushing would likely purchase bedding from Defendants in the future if the

 2 advertised thread counts were accurately calculated according to Industry Standards and advertised

 3 according to the FTC’s recommendations, because that proper labeling would allow him to make

 4 an informed decision in selecting bedding for different purposes and at different price points.

 5

 6                                      CLAIMS FOR RELIEF

 7                                           COUNT ONE
                                    Consumer Legal Remedies Act
 8
                                 (California Civil Code § 1750, et seq.)
 9          144.   Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
10 set forth herein.

11          145.   Plaintiff brings this count pursuant to California’s Consumer Legal Remedies Act
12 (the “CLRA”) California Civil Code § 1750, et seq.

13          146.   The CLRA designates certain “unfair methods of competition and unfair or
14 deceptive acts or practices undertaken by any person in a transaction intended to result or which

15 results in the sale or lease of goods or services to any consumer” to be “unlawful.”

16          147.   Plaintiff, for himself on behalf of the Class members, seeks only injunctive and
17 declaratory relief under the CLRA.

18          148.   By this action, Plaintiff seeks to enjoin the unfair, unlawful, and deceptive acts and
19 conduct of the Defendants as more fully described above.

20          149.   The Bedding Products at issue are “goods” as defined by the CLRA in California
21 Civil Code § 1761(a).

22          150.   Defendants are “persons” as defined by the CLRA in California Civil Code §
23 1761(c).

24          151.   Plaintiff and the Class are “consumers” as defined by the CLRA in California Civil
25 Code § 1761(d).

26          152.   Plaintiff’s and class members’ purchases of the Bedding Products are
27 “transactions” as defined by the CLRA in California Civil Code § 1761(e).

28
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 1          153.     Defendants’ mislabeling of the Bedding Products to assert false thread counts is

 2 prohibited pursuant to the CLRA, since such mislabeling is “undertaken by [Defendants] in a

 3 transaction intended to result or which results in the sale or lease of [the Bedding Products] to any

 4 consumer.”

 5          154.     Defendants engaged in unfair and deceptive acts declared unlawful by the CLRA

 6 by knowingly and intentionally mislabeling the Bedding Products to reflect a thread count

 7 materially higher than that which they actually had.

 8          155.     Defendants violated the CLRA’s proscription against misrepresentation of the

 9 “approval, characteristics, ingredients, uses, benefits, or quantities” of the Bedding Products by

10 affirmatively misrepresenting at all times to Plaintiff, class members, and everyone in the chain of

11 distribution in all of its broadly disseminated marketing and advertising, that the Bedding Products

12 were of a specific higher thread count when, in fact, they were not. Specifically, Defendants’

13 representations of material facts regarding the Bedding Products superior qualities violated

14 California Civil Code § 1770(a)(5)’s proscription against representing that goods have

15 characteristics and quantities that do not actually have; (b) § 1770(a)(7)’s proscription against

16 representing that goods are of a particular standard, quality or grade when they are of another; and

17 (c) § 1770(a)(9)’s proscription against advertising goods with the intent not to sell them as

18 advertised.
19          156.     Defendants’ active concealment of material facts violated § 1770(a)(5)’s

20 proscription against representing that goods have characteristics and quantities that do not actually

21 have.

22          157.     Defendants’ active concealment of material facts violated or § 1770(a)(7)’s

23 proscription against representing that goods are of a particular standard, quality or grade when they

24 are of another.

25          158.     Defendants’ active concealment of material facts violated § 1770(a)(9)’s

26 proscription against advertising good with the intent not to sell them as advertised.
27

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 1          159.   The facts concealed by Defendants were material, in that a reasonable person would

 2 have considered them important in deciding whether or not to purchase (or to pay the same price

 3 for) the Bedding Products.

 4          160.   Defendants’ concealment and deceptive practices, in violation of the CLRA, were

 5 designed to induce Plaintiffs and the members of the Class to purchase the Bedding Products.

 6          161.   Defendants intended to do the act that was deceptive and/or fraudulent, namely, to

 7 market, distribute and sell the Bedding Products.

 8          162.   To this day, Defendants continue to violate the CLRA by concealing the false

 9 thread counts of their Bedding Products and by failing or refusing to reveal to class members that

10 the Bedding Products they purchased were of a much lower thread count than labeled and

11 advertised.

12          163.   Plaintiff and class members reasonably relied on Defendants’ representations

13 regarding thread count in their purchase of the Bedding Products.

14          164.   As a direct and proximate result of Defendants’ unfair and deceptive acts or

15 practices, Plaintiff and the class members have suffered damages in that they purchased

16 misbranded Bedding Products they would not have bought, purchased more of the Bedding

17 Products than they would otherwise have bought, or paid more for the Bedding Products than they

18 would have if the Bedding Products had been honestly advertised and labeled.
19          165.   By reason of the foregoing and pursuant to Cal. Civ. Code §§ 1780(a)(2) and

20 1782(d), Plaintiff, on behalf of himself and all similarly situated, demand judgment against

21 Defendants under the CLRA for injunctive relief in the form of an injunction requiring Defendants

22 to correct their misstatements through notice to the Class; an injunction requiring Defendants to

23 replace the mislabeled Bedding Products with bedding of the same quality, characteristics, and

24 thread count advertised free of charge; and a permanent injunction requiring Defendants to rectify

25 their goods going forward by following the ASTM D3775 Standard for calculating their products’

26 thread count, if contained on labels or advertised; and an award of attorneys’ fees.
27          166.   In compliance with Cal. Civ. Code § 1780(d), Plaintiff’s venue affidavit is filed

28 concurrently herewith as Exhibit A.
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 1           167.    On or about May 3, 2016, Plaintiffs submitted a CLRA notice letter to Defendants

 2 via their counsel of record and certified or registered mail to Defendants’ principal place of

 3 business in California. If Defendants fail to provide appropriate relief for their violations of CLRA

 4 §§ 1770(a)(5), (7) and (9) within 30 days of receipt of Plaintiffs’ notification, in accordance with

 5 Civ. Code § 1782(b), Plaintiff is entitled, under CLRA § 1780, to amend his complaint to seek the

 6 following relief for Defendants’ violations of CLRA §§ 1770(a)(5), (7) and (9):

 7                          Actual damages under Civil Code Section 1780(a)(1);

 8                          Punitive damages under Civil Code Section 1780(a)(4);

 9                          Restitution of funds paid to Defendants under Civil Code Section 1780(a)(3);

10                          Attorneys’ fees and costs under Civil Code Section 1780(d); and

11                          Any other relief the Court deems proper under Civil Code Section.

12           168.    Relief for restitution and damages is not requested until this Complaint is amended

13 pursuant to Cal. Civil Code § 1782(d).

14
                                               COUNT TWO
15                                 Misleading and Deceptive Advertising
16                             (Business and Professions Code § 17500, et seq.)
             169.    Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
17
     set forth herein.
18
             170.    Plaintiff asserts this cause of action for violations of California Business and
19
     Professions Code § 17500 for misleading advertising against all Defendants.
20
             171.    At all times relevant hereto, Defendants have engaged in a deceptive offering for
21
     sale items of bedding and sheeting to the general public by way of disseminating commercial
22
     advertisements, including on the Internet, which were false and misleading as described herein.
23
     Said advertisements and inducements were made from within the State of California and come
24
     within the definition of advertisements as contained in the Business and Professions Code § 17500
25
     in that such promotional materials are intended inducements to the public to purchase the bedding
26
     and sheeting described or depicted therein, and are statements disseminated by Defendants to the
27

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 1 general public or intended to reach the general public. Such statements Defendants knew, or in the

 2 exercise of reasonable care should have known, were misleading.

 3           172.    In furtherance of said plan, Defendants have prepared and distributed from within

 4 the State of California via the Internet, catalogs, and showrooms, marketing and promotional

 5 materials with misleading and deceptive descriptions of its offerings. Defendants have also

 6 distributed from within the State of California Bedding Products with misrepresented thread

 7 counts. Defendants have engaged in deceptive ways of what is known as “passing off.”

 8           173.    The above-intentional acts of Defendants, and each of them, in disseminating said

 9 misleading statements from within the State of California and to the general public thereof are

10 likely to deceive the general public of the State of California and nationwide by obfuscating the

11 quality of the bedding thread count, all in violation of the misleading prong of California Business

12 and Professions Code § 17500.

13           174.    As a result of the above violations of the misleading prong of Business and

14 Professions Code § 17500 and pursuant to Business and Professions Code § 17535, Plaintiff and

15 class members have been injured and are entitled to an order of this court enjoining such future

16 conduct on the part of Defendants, and each of them, and such other orders and judgments that

17 may be necessary, including the appointment of a receiver, to restore to any person in interest any

18 money paid for bedding and sheeting as a result of the acts of Defendants or for replacement of
19 the materials with goods of the type and quality described in the misleading and deceptive

20 advertisements.

21           175.    By reason of the foregoing, Plaintiff and class members pray for relief as set forth

22 hereinafter.
                                            COUNT THREE
23                                        Untrue Advertising
24                           (Business and Professions Code § 17500, et seq.)
             176.    Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
25
     set forth herein.
26
             177.    Defendants’ conduct constitutes false advertising in violation of California
27
     Business and Professions Code § 17500, et seq., for untrue advertising.
28
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 1          178.   At all times relevant hereto, Defendants offering for sale the Bedding Products to

 2 Plaintiff and to the general public by way of disseminating commercial advertisements via

 3 catalogs, their websites, and retail showrooms. These advertisements contained untrue or

 4 misleading statements about the Bedding Products’ thread count.

 5          179.   Defendants knew, or in the exercise of reasonable care should have known, that its

 6 statements as to the Bedding Products’ statements were untrue.

 7          180.   Defendants’ untrue or misleading advertisements and inducements were made from

 8 within the State of California and come within the definition of advertisements as contained in

 9 Business and Professions Code § 17500 in that such promotional materials were intended to induce

10 to the public to purchase the Bedding Products described or depicted in the advertising, and are

11 untrue statements disseminated by Defendants to the general public.

12          181.   In furtherance of said plan, Defendants prepared and distributed from within the

13 State of California advertising with untrue descriptions of the Bedding Products as alleged herein

14 and as will be discovered through discovery in this action.

15          182.   Defendants’ acts and practices in disseminating said untrue advertising from within

16 the State of California and to the general public thereof deceived the general public of the State of

17 California and nationwide by obfuscating the nature and quality of the Bedding Products in

18 violation of California Business and Professions Code § 17500.
19          183.   As a result of Defendants’ violation of the False Advertising Law, Plaintiff and

20 other class members were likely to be deceived and/or were deceived into purchasing the Bedding

21 Products and thereby suffered loss of money or property.

22          184.   By reason of the foregoing and pursuant to Business and Professions Code § 17535,

23 Plaintiff and class members seek all remedies available under the False Advertising Law, including

24 an order of this court enjoining such future conduct on the part of Defendants, and each of them,

25 and such other orders and judgments which may be necessary, including restitution and the

26 appointment of a receiver, to restore to any person in interest any money paid for the Bedding
27 Products, or replacement goods, as a result of the Defendants acts.

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                                         COUNT FOUR
 1                                 Unlawful Business Practices
 2            (Unfair Competition Law - Business and Professions Code § 17200, et seq.)
             185.    Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
 3
     set forth herein.
 4
             186.    Such acts of Defendants as described above, constitute unlawful business practices
 5
     and constitute violations of California’s Unfair Competition Law, Business and Professions Code
 6
     § 17200, et seq. (the “UCL”). The UCL prohibits unlawful business practices, including any
 7
     “unlawful, unfair or fraudulent business act or practice,” any “unfair, deceptive, untrue or
 8
     misleading advertising” and any act prohibited by Business and Profession Code § 17500.
 9
             187.    The Defendants’ business practices alleged above are unlawful under the Federal
10
     Trade Commission Act (FTCA) § 5(a), 15 U.S.C.A. § 45(a), which designates as “unlawful” all
11
     “unfair or deceptive acts or practices in or affecting commerce.”
12
             188.    The Defendants’ business practices alleged above are “unfair” under the FTCA §
13
     5(a) as they are “likely to cause substantial injury to consumers which is not reasonably avoidable
14
     by consumers themselves and not outweighed by countervailing benefits to consumers or to
15
     competition.” 15 U.S.C.A. § 45(n).
16
             189.    The business practices alleged above are “deceptive” under the FTCA § 5(a) as they
17
     include a material representation, omission, or practice that is likely to mislead consumers acting
18
     reasonably under the circumstances.
19
             190.    As alleged in Count 1, the business practices alleged above are unlawful under
20
     California’s Consumer Legal Remedy Act (“CLRA”).
21
             191.    As alleged in Counts 2 and 3, the business practices alleged above are unlawful
22
     under § 17200 by virtue of violating California Business and Professions Code § 17500, et seq.
23
             192.    Such acts of Defendants as described above constitute unlawful business practices
24
     by virtue of violations of the FTCA, CLRA, and California Business and Professions Code §
25
     17500, et seq., and therefore constitute violations of the UCL.
26
             193.    As a result of the business practices described above and pursuant to Business and
27
     Professions Code § 17203, Plaintiff and class members have been injured and are entitled to an
28
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 1 order enjoining such future conduct on the part of Defendants, and each of them, and such other

 2 orders and judgment which may be necessary, including the appointment of a receiver, to restore

 3 to any person in interest any money paid for bedding and sheeting, or replacement of the goods,

 4 and/or excessive payments made for items in the product categories as a result of Defendants’ acts.

 5           194.    By reason of the foregoing, Plaintiff and class members pray for relief as set forth

 6 hereinafter.
                                          COUNT FIVE
 7                                  Unfair Business Practices
 8            (Unfair Competition Law - Business and Professions Code § 17200, et seq.)
             195.    Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
 9
     set forth herein.
10
             196.    Such acts of Defendants as described above, constitute unfair competition in that,
11
     for reasons set forth above, the acts and practices offend public policy and are unethical,
12
     oppressive, unscrupulous, and substantially injurious to the public.
13
             197.    Such acts of Defendants as described above constitute unfair business practices by
14
     virtue of violations of the FTCA, CLRA, and California Business and Professions Code § 17500,
15
     et seq., and therefore are tied to specific statutory provisions and constitute violations of the UCL.
16
     The UCL prohibits unfair business practices, including any “unlawful, unfair or fraudulent
17
     business act or practice,” any “unfair, deceptive, untrue or misleading advertising” and any act
18
     prohibited by Business and Profession Code § 17500.
19
             198.    The business practices alleged above are unlawful under FTCA § 5(a). By virtue
20
     of these violations, Defendants have engaged in unfair business practices as defined by the UCL.
21
             199.    The business practices alleged above are unlawful under the CLRA. By virtue of
22
     these violations, Defendants have engaged in unfair business practices as defined by the UCL.
23
             200.    The business practices alleged above are unlawful under California Business and
24
     Professions Code § 17500, et seq. By virtue of these violations, Defendants have engaged in unfair
25
     business practices as defined by the UCL.
26
             201.    Purchasers of Defendants’ mislabeled Bedding Products suffered a substantial
27
     injury by virtue of paying an excessive price for unfairly advertised bedding.
28
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 1           202.    There is no benefit to consumers or competition by falsely advertising bedding or

 2 allowing Defendants to use their own method for calculating thread counts that generates higher

 3 thread counts than competitors using the Industry Standard. Indeed, the harm to consumers and

 4 competition is substantial. Competitors are also injured when one cheats and others do not, and

 5 consumers are always harmed.

 6           203.    Consumers have no way of reasonably knowing that the bedding they are buying is

 7 not as advertised because of a lack of skill and knowledge that they are relying upon Defendants

 8 to supply. It takes testing or a well-trained eye to discern the truth regarding the bedding. Thus,

 9 consumers could not have reasonably avoided the injury each of them suffered.

10           204.    As a result of the business practices described above and pursuant to Business and

11 Professions Code § 17203, Plaintiff and class members have been injured and are entitled to an

12 order enjoining such future conduct on the part of Defendants, and each of them, and such other

13 orders and judgment which may be necessary, including the appointment of a receiver, to restore

14 to any person in interest any money paid for bedding, or replacement of the goods, and/or excessive

15 payments made for items in the product categories as a result of the acts of Defendants.

16           205.    By reason of the foregoing, Plaintiff and class members pray for relief as set forth

17 hereinafter.
                                          COUNT SIX
18                                 Fraudulent Business Practices
19            (Unfair Competition Law - Business and Professions Code § 17200, et seq.)
             206.    Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
20
     set forth herein.
21
             207.    Defendants’ acts as described above, and each of them, constitute fraudulent
22
     business practices under California Business and Professions Code sections 17200, et seq.
23
             208.    As more fully described above, Defendants represented the Bedding Products to be
24
     of a specified thread count, intending consumers rely on such representations in purchasing the
25
     Bedding Products.
26
             209.    As more fully described above, such representations were false and Defendants
27
     knew or should have known them to be false.
28
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 1           210.    As more fully described above, the representations of thread count by Defendants

 2 was material in Plaintiff and class members’ decision to purchase the Bedding Products.

 3           211.    As more fully described above, Defendants’ advertising of the Bedding Products as

 4 a certain thread count was and continues to be likely to deceive reasonable bedding purchasers,

 5 who reasonably rely on such representations. Indeed, purchasers are certain to be deceived

 6 regarding the thread counts of Defendants’ bedding.

 7           212.    Defendants’ fraud and deception caused the Bedding Products’ purchasers,

 8 including Plaintiff, to pay too much for the Bedding Products given their true thread counts.

 9           213.    As a result of the business practices described above, Plaintiff, individually and on

10 behalf of the Class pursuant to Business and Professions Code section 17203, is entitled to an order

11 enjoining such future conduct on the part of Defendants, and each of them, and such other orders

12 and judgments which may be necessary, including the appointment of a receiver, to restore to any

13 person in interest any money paid for bedding and sheeting, or replacement goods, as a result of

14 the acts of Defendants.

15           214.    By reason of the foregoing, Plaintiff and class members pray for relief as set forth

16 hereinafter.
                                            COUNT SEVEN
17                                         Breach of Contract
18                            (As to Defendants’ WSI and the WSI Brands)18
             215.    Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
19
     set forth herein.
20
             216.    Defendants’ packaging, labeling, and offer to sell Williams-Sonoma Home’s
21
     “Signature 600-Thread-Count Sateen Bedding” and the other Bedding Products was an offer.
22
             217.    The terms of Defendants’ offer were that if Plaintiff or a class member paid the
23
     advertised price, they would receive from Defendants the bedding selected, and that the selected
24
     bedding would match the thread count advertised by Defendants for that particular bedding.
25

26
27

28   18
       The use of the term “Defendants” in Counts Seven through Nine refers only to those Defendants
     identified in the title of those counts.
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 1             218.   In Mr. Rushing’s situation, the terms of Defendants’ offer were that if Mr. Rushing

 2 paid the advertised price, he would receive the “Signature 600-Thread-Count Sateen Bedding”

 3 selected, and that bedding would be 600 thread count.

 4             219.   The thread count was a material term of Plaintiff’s and the Class’ contract with

 5 Defendants.

 6             220.   Plaintiff and the Class accepted Defendants’ offer when they purchased one or more

 7 of the Bedding Products.

 8             221.   Plaintiff and the Class performed all of their obligations under the contract formed

 9 at the time of Defendants’ sale of the Bedding Products to Plaintiff and the Class.

10             222.   Defendants breached the terms of the contracts with Plaintiff and the Class by

11 failing to provide Plaintiff and the Class with bedding that matched the higher thread counts

12 Defendants advertised for the selected bedding, thereby depriving Plaintiff and the Class of the

13 contracts’ benefits.

14             223.   As a result of Defendants’ breach of contract, Plaintiff and the class members have

15 suffered damages in an amount to be determined at trial.

16
                                             COUNT EIGHT
17                       Breach of Implied Covenant of Good Faith and Fair Dealing
18                              (As to Defendants’ WSI and the WSI Brands)
               224.   Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
19
     set forth herein.
20
               225.   In all contracts, including in the contracts entered into by Plaintiff and the Class,
21
     on the one hand, and Defendants, on the other, there is an implied covenant of good faith and fair
22
     dealing requiring the parties to deal fairly with each other in all respects in connection with the
23
     contracts, and not to take any action which deprives the other of the contract’s benefits to any
24
     extent.
25
               226.   The covenants of good faith and fair dealing include obligations on the part of
26
     Defendants to accurately represent the thread count of its bedding when thread count is identified.
27

28
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 1             227.   Defendants breached the covenants of good faith and fair dealing by

 2 misrepresenting inflated thread counts in the marketing, promoting, labeling, advertising, and

 3 selling of the Bedding Products.

 4             228.   Defendants breached the covenants of good faith and fair dealing by collecting and

 5 retaining monies from Plaintiff and the Class in exchange for the Bedding Products that were not

 6 of the type or quality Defendants’ marketed, promoted, labeled, and advertised.

 7             229.   Plaintiff and the Class performed all of their obligations under the contract formed

 8 at the time of sale of the Bedding Products.

 9             230.   As a direct and proximate result of Defendants’ breaches, Plaintiff and the Class

10 sustained actual damages in amounts to be proven at trial, together with interest thereon.

11             231.   By reason of the foregoing, Plaintiff and the Class seek a judgment against

12 Defendants for their reasonable and necessary attorneys’ fees and costs incurred in prosecuting its

13 claims in this matter.

14                                               Alternatively
15
                                              COUNT NINE
16                                          Unjust Enrichment
                                (As to Defendants’ WSI and the WSI Brands)
17
               232.   Plaintiff incorporates by reference each of the foregoing paragraphs as though fully
18
     set forth herein.
19
               233.   As a result of its unfair and deceptive conduct described above, including the false
20
     and misleading labeling and advertising of the Bedding Products, Defendants received monies as
21
     a result of Plaintiff’s and the class members’ purchases of the Bedding Products.
22
               234.   Defendants wrongfully accepted and retained these benefits to the detriment of
23
     Plaintiff and the Class.
24
               235.   Defendants’ enrichment at the expense of Plaintiff and the class members was
25
     unjust.
26
               236.   It would be unjust and inequitable for Defendants to retain its profits earned from
27
     misrepresenting the Bedding Products’ thread counts to increase sales.
28
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 1          237.    As a result of Defendants’ wrongful conduct, Plaintiff and the Class are entitled to

 2 restitution from and the institution of a constructive trust disgorging all profits, benefits, and other

 3 compensation obtained by Defendants, plus attorneys’ fees, costs, and interest thereon.

 4

 5                                        PRAYER FOR RELIEF

 6          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays that this case be

 7 certified and maintained as a class action and for judgment to be entered in favor of Plaintiff and

 8 the Class against Defendants as follows:

 9          A.      certifying the Class under Federal Rule of Civil Procedure 23(b)(3) and California

10    Civil Code § 1781(b), appointing the named Plaintiff as the representative of the Class, and

11    appointing the law firms representing the named Plaintiff as counsel for the Class;

12          B.      enjoining Defendants from further misstating thread count in advertising and

13    marketing their bedding;

14          C.      directing Defendants to disgorge profits from its misleading and deceptive practice

15    and to pay restitution to the Class; awarding Plaintiff and the Class rescission;

16          D.      awarding Plaintiff and the Class actual, compensatory damages in an amount to be

17    proven at trial, except that, with respect to the CLRA cause of action, such damages are not

18    requested until this Complaint is amended pursuant to Cal. Civil Code § 1782;
19          E.      awarding Plaintiff and the Class restitution of all monies paid to Defendants as a

20    result of unlawful, deceptive, and unfair business practices, except that, with respect to the CLRA

21    cause of action, such restitution is not requested until this Complaint is amended pursuant to Cal.

22    Civil Code § 1782;

23          F.      awarding Plaintiff and the Class exemplary damages in an amount to be proven at

24    trial, except that, with respect to the CLRA cause of action, such damages are not requested until

25    this Complaint is amended pursuant to Cal. Civil Code § 1782;

26          G.      awarding Plaintiff and the Class reasonable attorneys’ fees, costs, and pre- and post-
27    judgment interest in amounts to be determined by the Court; and

28          H.      granting any other relief that the Court may deem just, equitable, and proper.
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 1

 2                                  REQUEST FOR JURY TRIAL

 3          Plaintiff hereby requests a trial by jury for all causes of action, claims or issues in this

 4 action that are triable as a matter of right to a jury pursuant to Federal Rule of Civil Procedure

 5 38(b).

 6

 7 Dated: May 4, 2016.                                Respectfully submitted,
 8
                                                      ROSE LAW GROUP, PC
 9
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